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           EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND
                                       (Southern Division)

J.O.P., et al.,

          Plaintiffs,

 v.
                                                             8:19-CV-01944-SAG
U.S. DEPARTMENT OF                                           Declaration of
HOMELAND SECURITY, et al.,                                   Acting Deputy Associate Director
                                                             Mellissa B. Harper
          Defendants.




                           DECLARATION OF MELLISSA B. HARPER

  I, Mellissa B. Harper, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

           1.      I am currently employed by the U.S. Department of Homeland Security (DHS),

  U.S. Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations

  (ERO) as the Acting Deputy Executive Associate Director (A)D-EAD. I have held this position

  since May 29, 2025.

           2.      As (A)D-EAD, I oversee the mission of ERO’s eight headquarters divisions:

  Enforcement, Removal, Non-Detained Management, Custody Management, Field Operations,

  ICE Health Service Corps, Law Enforcement Systems and Analysis, and Operations Support.

           3.      I am aware of the court’s order in J.O.P. v. Department of Homeland

  Security, ECF No. 254, which orders the Defendants to facilitate the return of an alien with

  the pseudonym Cristian. I am also aware of ECF No. 293, which orders the Defendants to

  file weekly status reports in the form of a declaration.

           4.      DOS is the agency of the United States Government responsible for high-

  level diplomatic discussions.

           5.      DHS has informed the U.S. Department of State (DOS) of the Court’s order
                                                    1
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and requested DOS assistance in complying with the Court’s order, including by entering

into negotiations to facilitate Cristian’s return. DOS has acknowledged the request.

       6.      It is my understanding that on June 12, 2025, the Salvadoran government

notified the Embassy that Cristian remains at CECOT and is in a good state of health and

has gained weight.

       7.      Given the nature of the diplomatic discussions necessitated by the court’s

order to facilitate Cristian’s return to the United States, which would involve engagement

with the highest levels of the Salvadoran government, and as conveyed to you previously,

the State Department has assumed responsibility on behalf of the U.S. Government for these

diplomatic discussions with El Salvador.

       I declare, under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief, as of the time of signature.



Executed this 12th day of June 2025.


                                            MELLISSA B Digitally       signed by
                                                               MELLISSA B HARPER
                                                               Date: 2025.06.12 18:09:27
                                            HARPER             -07'00'
                                           __________________________________
                                           Mellissa B. Harper
                                           Acting Deputy Associate Director
                                           Enforcement and Removal Operations
                                           U.S. Immigration and Customs Enforcement
                                           U.S. Department of Homeland Security




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